             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

COAKLEY PENDERGRASS, et al.,

       Plaintiffs,

v.                                           CIVIL ACTION

BRAD RAFFENSPERGER, et al.,                  FILE NO. 1:21-CV-05339-SCJ

       Defendants.


                 DEFENDANTS’ BRIEF IN SUPPORT OF
                 MOTION FOR SUMMARY JUDGMENT

                               INTRODUCTION

      After engaging in a months-long process in 2021 that sought broad input

and   despite   COVID-related      Census    delays,   Georgia    implemented     a

redistricting map for Congress that split fewer counties than prior plans and

that elected five Black members of Congress. Plaintiffs claim this map results

in “a denial or abridgement of the right . . . to vote on account of race or color,”

52 U.S.C. § 10301(a), because they say the General Assembly had an obligation

to draw one additional majority-Black congressional district, so the adopted

map constitutes illegal vote dilution.

      But Section 2 of the Voting Rights Act does not allow this Court to infer

vote dilution “from mere failure to guarantee a political feast,” Johnson v. De

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Grandy, 512 U.S. 997, 1017 (1994) (majority op.), because the “[f]ailure to

maximize cannot be the measure of § 2.” Id.

      This means that Section 2 is not simply a checklist—“do we have a map

with more districts, polarized voting, and a history of discrimination? End of

analysis!”—instead, this Court is required to “conduct an intensely local

appraisal of the design and impact of a voting system.” Johnson v. Hamrick,

296 F.3d 1065, 1074 (11th Cir. 2002) (quoting Negron v. City of Miami Beach,

113 F.3d 1563, 1566 (11th Cir. 1997)). And the alleged deprivation “must be on

account of a classification, decision, or practice that depends on race or color,

not on account of some other racially neutral cause.” Solomon v. Liberty Cnty.

Comm’rs, 221 F.3d 1218, 1225 (11th Cir. 2000) (en banc) (quoting Nipper v.

Smith, 39 F.3d 1494, 1515 (11th Cir. 1994) (en banc)); accord Brnovich v.

Democratic Nat’l Comm., 141 S. Ct. 2321, 2359 (2021) (Section 2 asks whether

an election law interacts with conditions “to cause race-based inequality in

voting opportunity”) (Kagan, J, dissenting) (emphasis added). This local

appraisal also does not mean the adopted plan has to beat Plaintiffs’ maps in

a “beauty contest.” Bush v. Vera, 517 U.S. 952, 977 (1996) (O’Connor, J.). This

is at least in part because “the Constitution charges States, not federal courts,

with designing election rules.” Curling v. Raffensperger, 50 F.4th 1114, 1122

(11th Cir. 2022).

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      Instead of engaging in a wholesale review of the legislature’s choices in

this case, this Court must answer one fundamental question, in an area of law

that is “notoriously unclear and confusing,” Merrill v. Milligan, 142 S. Ct. 879,

881 (2022) (Kavanaugh, J., concurring):

         • Did the Georgia General Assembly adopt a map that dilutes the

             right to vote of Black voters in Georgia on account of race or color

             when it drew districts without a single additional majority-Black

             congressional districts in metro Atlanta? If so, why?

      As discussed below, Plaintiffs cannot prevail on their claims after

discovery. This Court should determine that Plaintiffs have failed to present

evidence that Georgia’s congressional map dilutes the right to vote on account

of race or color and dismiss this case.

      First, this Court must dismiss the members of the State Election Board

(SEB) as Defendants, because no evidence demonstrates they played any role

in the redistricting process, and they cannot provide Plaintiffs with any relief.

      Second, the map proposed by Plaintiffs does not meet prong one of

Thornburg v. Gingles, 478 U.S. 30 (1986), because it is improperly focused on

race and thus cannot be implemented as a remedy and because it does not

demonstrate the State should have drawn an additional majority-Black

district. Plaintiffs’ experts utilized racial shading, racial splits, and other tools

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while drawing and could not identify communities beyond race when preparing

the maps that united disparate communities of Black voters. Indeed, if Georgia

had used the same processes Plaintiffs’ expert used, it would be accused of

racial gerrymandering.1

      Third, the second and third prongs of Gingles are not met because

Plaintiffs’ experts studiously avoided any analysis of the cause of the

polarization they found, opting instead to refer to any voting pattern where the

majority votes to defeat the minority as “racially polarized.” But the

requirement of Section 2’s text that any vote dilution be “on account of race or

color” requires that it not be “on account of politics.” Plaintiffs’ failure to

address this issue in discovery is fatal to their claims.

      Fourth, Georgia already elects more Black and Black-preferred members

of Congress than the proportion of Black individuals in the population. This

bars any claim that the General Assembly failed to draw additional majority-

Black congressional districts.




1 In fact, while Georgia is accused of not considering race enough in this case

by failing to draw a sufficient number of majority-Black districts, it is accused
of considering race too much by plaintiffs who say the congressional plans are
racial gerrymanders in the Ga. NAACP and Common Cause three-judge panel
cases.

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        As discussed below, after discovery, there is no material fact in dispute

that could cause this case to continue. This Court should grant judgment as a

matter of law to Defendants.

                          FACTUAL BACKGROUND2

   I.      Georgia’s redistricting plans.

        Following the delayed release of Census data in 2021,3 the Georgia

General Assembly began working on redistricting maps ahead of its November

2021 special session. Both chairs of the House and Senate committees with

jurisdiction over redistricting sought to meet with all of their colleagues, both

Republican and Democratic, to gain input on their areas of the state. SMF ¶ 3;

Wright Dep. 68:17-69:7. Consistent with past redistricting cycles, the joint

House and Senate committees also held a series of “listening sessions” across

the state to hear from citizens about maps, including several Zoom meetings.

SMF ¶ 4; Kennedy Dep. 171:13-20, 194:1-195:10. And for the first time in 2021,


2 As required by this Court’s instructions, III. I., all citations to the record are

included in the brief and in the accompanying Statement of Material Facts
(SMF) that is filed contemporaneously with this brief. The SMF includes the
full citations to the shortened deposition citations in the brief, along with the
exhibits and deposition excerpts required by the Local Rules.
3 That Census data showed that the increase in the percentage of Black voters

in Georgia from 2010 to 2020 was slightly more than two percentage points
statewide. SMF ¶ 1; Cooper Report, ¶ 14, Figure 1. But further Census data
has shown decreases in the Black Citizen Voting Age Population between 2019
and 2021. SMF ¶ 2; Cooper Dep. 38:24-39:10.

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the General Assembly provided a public comment portal online, seeking

comments from the public. SMF ¶ 5; Wright Dep. 252:20-253:4. After holding

a committee education day where a variety of stakeholder groups presented

about map-drawing, the committees adopted guidelines to govern the map-

drawing process. SMF ¶ 6; Kennedy Dep. 161:1-4; Rich Dep. 214:19-215:7.

         To    prepare   maps,   Gina   Wright,   the   director   of   the   Joint

Reapportionment Office, worked with a leadership group to work on the

congressional map from an earlier draft from Sen. Kennedy. SMF ¶ 7; Wright

Dep. 28:19-30:23. Political considerations were important, including placing

portions of Cobb County into District 14 to increase political performance in

other parts of the state. SMF ¶ 8; Wright Dep. 111:16-112:10; 158:4-21.

         The resulting Congressional map reduced the number of split counties

from the prior plan. SMF ¶ 9; Cooper Report, ¶ 81, Figure 14. The Governor

signed the plan on December 30, 2021, and it was used in the 2022 elections.

SMF ¶ 10; [Doc. 120], ¶ 33.

   II.        Role of SEB.

         Discovery in this case demonstrates that the members of the SEB have

nothing to do with the redistricting process. Despite the opportunity for

extensive discovery, the only material fact related to the SEB’s role in

Plaintiffs’ claims is what the SEB said in its responses to interrogatories, that


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they “were not involved in the map-drawing process.” SMF ¶ 11; Responses to

Interrogatories, Response No. 2. Discovery has revealed no basis to conclude

that the SEB plays any role in the implementation of any district map. As a

result, there is no dispute of any material fact regarding their involvement.

   III.   The individual Plaintiffs.

      All of the individual Plaintiffs in this case consider themselves to be

members of the Democratic Party, have held positions in the Democratic Party,

and most of them have never voted for a Republican candidate. SMF ¶¶ 12-35;

James Dep. 38:20-22, 40:20-41:8, 41:9-18; Pendergrass Dep. 25:17-19, 26:4-5,

9-15, 26:5-6, 26:21-27:8, 26:6-8, 27:20-25; Hennington Dep. 36:23-37:9, 37:20-

38:7; Richards Dep. 44:21-23; Rueckert Dep. 29:7-13, 30:20-23; Glaze Dep.

33:9-11. Given the political nature of the polarization discussed below and

the impact of partisanship in this case, the political goals of Plaintiffs are

relevant for this Court’s consideration.

   IV.    Plaintiffs’ proposed maps.

      Plaintiffs began planning for this litigation before the Georgia maps

were even complete—retaining experts to work on alternative maps around

the same time as the special session convened. SMF ¶ 36; Cooper Dep. 8:14-

8:23. After the Governor signed the maps, Plaintiffs immediately sued.




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      A. Overall Pendergrass maps.

      Plaintiffs’ goal in offering their illustrative plan was to determine

whether they could draw one additional majority-Black4 district beyond those

drawn by the state plan. SMF ¶ 37; Cooper Dep. 14:15-15:2. This is despite

the fact that five of Georgia’s fourteen members of Congress are Black

individuals. SMF ¶ 39; Cooper Dep. 19:19-21.

      When Mr. Cooper was creating his illustrative maps, he turned on

features in the software to indicate where Black individuals were located. SMF

¶ 40; Cooper 24:12-25:6. Unlike the legislature, Mr. Cooper did not have any

political data available to him. SMF ¶ 41; Wright Dep. 55:25-56:7; 140:3-11;

140:17-19; 257:21-258:1; 258:2-14; Cooper Dep. 56:8-11. Mr. Cooper’s

preliminary injunction plans contained the maximum number of Black

districts he drew for any congressional plan in Georgia. SMF ¶ 42; Cooper Dep.

14:15-15:2.




4   Map-drawers distinguish “majority-minority” from “majority-Black.”
Majority-minority districts have a majority of non-white and Latino voters,
while majority-Black districts are districts where Black voters as a single
racial category constitute a majority of a district. SMF ¶ 38; Cooper Dep. 16:14-
20.

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      B. Illustrative congressional plan.

      Mr. Cooper created one additional majority-Black congressional district

on his illustrative plan, which is titled District 6.5 SMF ¶ 43; Cooper Report, ¶

53. Despite relying on the existence of four state Senate districts in the same

area, Cooper Report, ¶ 45, large geographic areas of Senate Districts 39 and 38

in Fulton County were not included in illustrative District 6. SMF ¶ 45; Cooper

Dep. 49:5-49:15. Unlike Mr. Cooper’s preliminary injunction plan, Cobb

County is split three ways in the plan he submitted with his expert report.

SMF ¶ 46; Cooper Dep. 51:3-6. To create the one additional majority-Black

district, Mr. Cooper had to alter eight of the existing 14 congressional districts,

but was careful to avoid altering Districts 2, 5, and 7, all of which currently

elect Black Democratic members of Congress. SMF ¶ 47; Cooper Report, ¶ 51;

Cooper Dep. 36:5-36:14.

      In illustrative District 6, the only portion of a county in the district that

is majority-Black in voting age population is Fulton County. SMF ¶ 48; Cooper

Dep. 77:12-17. Without the portion of Fulton County that Mr. Cooper moved

out of District 13 into illustrative District 6, the remaining components of the


5 This is a change from the plan he submitted five years ago in a different

Section 2 case challenging Georgia’s prior congressional districts, which
analyzed a South Georgia area to create a new majority-Black district in rural
Georgia. SMF ¶ 44; Cooper Dep. 42:10-42:18, 43:4-13.

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district would not allow it to be majority-Black. SMF ¶ 49; Cooper Dep. 78:6-

11.

      In order to create District 6 as a majority-Black district, Mr. Cooper

adjusted other districts in ways that he could not explain. He connected urban

areas in North Fulton with rural areas in Bartow County. SMF ¶ 50; Cooper

Dep. 59:6-60:1. He connected Cobb County with rural parts of Georgia going

all the way down to Columbus, Georgia in District 3. SMF ¶ 51; Cooper Dep.

63:15-24, 64:17-65:4. The only connection he could identify to this similar

configuration of enacted District 14 was that Heard and Troup counties were

closer to Atlanta. SMF ¶ 52; Cooper Dep. 65:20-66:2. He also agreed that his

illustrative 13 connected urban (and heavily Black) parts of Clayton County

with rural areas out to Jasper County. SMF ¶ 53; Cooper Dep. 73:13-17.

      And when asked why he connected majority-Black Hancock County

(from the Black Belt, according to his testimony in other cases) to the North

Carolina border, he could only point to population equality.6 SMF ¶ 54; Cooper

Dep. 68:6-69:2, 70:16-22; 86:5-8.




6 He also could not explain why he included Athens/Clarke County in the same

district as Hancock County and Rabun County. SMF ¶ 55; Cooper Dep. 71:21-
72:11.

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            ARGUMENT AND CITATION OF AUTHORITIES

      Summary judgment is appropriate when there is no genuine issue of

material fact and the moving party is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56. The moving party bears the initial burden but is not required

to negate the opposing party’s claims. Instead, the moving party may point out

the absence of evidence to support the non-moving party’s case. Celotex Corp.

v. Catrett, 477 U.S. 317, 325 (1986); Marion v. DeKalb County, Ga. 821 F. Supp.

685, 687 (N.D. Ga. 1993).

      Section 2 of the Voting Rights Act prohibits jurisdictions from diluting

the strength of minority voters through a “standard, practice, or procedure”

“which results in a denial or abridgement of the right of any citizen of the

United States to vote on account of race or color.” 52 U.S.C. § 10301(a). Proof

of illegal vote dilution is established through a “totality of the circumstances”

analysis. 52 U.S.C. § 10301(b).

      In order to show a Section 2 violation, a plaintiff bears the burden of first

proving each of the three Thornburg v. Gingles, 478 U.S. 30 (1986),

preconditions7:



7 These preconditions are also frequently referred to in cases as the Gingles

“prongs.” See, e.g., Bartlett v. Strickland, 556 U.S. 1, 17 (2009); Johnson, 296
F.3d at 1073.

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        Specifically, plaintiffs in vote dilution cases must establish as a
        threshold matter: (1) that the minority group is “sufficiently large and
        geographically compact to constitute a majority in a single-member
        district”; (2) that the minority group is “politically cohesive”; and (3) that
        sufficient racial bloc voting exists such that the white majority usually
        defeats the minority’s preferred candidate.

Nipper v. Smith, 39 F.3d 1494, 1510 (11th Cir. 1994) (quoting Gingles, 478 U.S.

at 50-51). Only after establishing the three preconditions does a court begin a

review of the so-called “Senate Factors” to assess the totality of the

circumstances. Id. at 1512; Gingles, 478 U.S. at 79; De Grandy, 512 U.S. at

1011. Failure to establish one of the Gingles prongs is fatal to a Section 2 claim

because each of the three prongs must be met. See Johnson v. DeSoto Cnty. Bd.

of Comm’rs, 204 F.3d 1335, 1343 (11th Cir. 2000); Burton v. City of Belle Glade,

178 F.3d 1175, 1199 (11th Cir. 1999); Brooks v. Miller, 158 F.3d 1230, 1240

(11th Cir. 1998); Negron v. City of Miami Beach, 113 F.3d 1563, 1567 (11th Cir.

1997). And of course, while these preconditions are necessary to proving a

Section 2 claim, they are not sufficient. De Grandy, 512 U.S. at 1011 (Gingles

preconditions are not “sufficient” to “prove a § 2 claim.”).

   I.      Members of the SEB must be dismissed because any injuries
           are not traceable to nor redressable by the SEB.

        As the Eleventh Circuit recently explained, “[t]o satisfy the causation

requirement of standing, a plaintiff’s injury must be ‘fairly traceable to the

challenged action of the defendant, and not the result of the independent action


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of some third party not before the court.’” Jacobson v. Fla. Sec’y of State, 974

F.3d 1236, 1253 (11th Cir. 2020) (quoting Lujan v. Defs. of Wildlife, 504 U.S.

555, 560 (1992)). The problem for Plaintiffs is that the Georgia legislature, not

the SEB, designs the legislative districts at issue. Indeed, the SEB has no say

in the matter one way or another, and Plaintiffs have not located any evidence

that the named members of the SEB had any say in the design of the maps or

in their implementation. The SEB is not implicated in this action, and its

members in their official capacity should be dismissed as parties to it. “Because

the [SEB] didn’t do (or fail to do) anything that contributed to [Plaintiffs’

alleged] harm, the voters… cannot meet Article III’s traceability requirement.”

Jacobson, 974 F.3d at 1253 (quoting Lewis v. Governor of Ala., 944 F.3d 1287,

1301 (11th Cir. 2019) (internal quotations omitted)).

      The only basis Plaintiffs even identify to assert claims against the SEB

members is based on their general statutory duty to “formulate, adopt, and

promulgate such rules and regulations, consistent with law, as will be

conducive to the fair, legal, and orderly conduct of primaries and elections.”

[Doc. 120, ¶¶ 18-22], citing O.C.G.A § 21-2-31(2). But this is only a generalized

duty that was insufficient in Jacobson when the plaintiffs could not show the

Secretary of State of Florida had any role in the design of the ballots they

claimed injured them. “In the absence of any evidence that the Secretary

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controls ballot order, the voters and organizations… cannot rely on the

Secretary’s general election authority to establish traceability.” 974 F.3d at

1254. In Lewis, the Eleventh Circuit came to a similar conclusion. There,

plaintiffs challenged a minimum-wage law promulgated by the State and sued

the Alabama Attorney General because of “a host of provisions of the Alabama

Code that generally describe the Attorney General’s [enforcement] authority.”

Lewis, 944 F.3d at 1300. But these generalized duties did not establish

traceability to the plaintiffs’ injuries, in part because the statute at issue in the

plaintiffs’ complaint “envisions no role for the Attorney General.” Id. at 1299.

         The same is true here. Because Plaintiffs have produced no evidence in

discovery that any of the individually named SEB members designed or

implement the maps in any substantive way, they should be dismissed from

this case.

   II.     Plaintiffs cannot establish the first Gingles precondition.

         As this Court already found, illustrative plans cannot “subordinate

traditional redistricting principles to racial considerations substantially more

than is reasonably necessary to avoid liability under Section 2.” [Doc. 97, p. 87]

(citing Davis, 139 F.3d at 1424). The evidence demonstrates that Plaintiffs

have gone beyond that limitation here.




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      As Mr. Cooper testified, he used racial shading and other techniques in

his efforts to create the new majority-Black district. See Miller v. Johnson, 515

U.S. 900, 925 (1995) (use of racial shading in district maps). He was unable to

identify factors that connected areas of his new majority-Black district beyond

the common community of interest shared by all Black individuals. And when

he split counties, he did so in ways that ensured higher concentrations of Black

voters were included in the portions of counties in the new majority-Black

district, while also being unable to explain other configurations of districts that

ran from the heavily Black areas north to the mountains. This cannot meet

prong one.

      The Eleventh Circuit prohibits the separation of the first prong of

liability under Gingles and the potential remedy. Nipper, 39 F.3d at 1530-31;

see also Burton, 178 F.3d at 1199 (“We have repeatedly construed the first

Gingles factor as requiring a plaintiff to demonstrate the existence of a proper

remedy.”). Whatever plan is used to demonstrate the violation of the first prong

of Gingles must also be a remedy that can be imposed by the Court. Nipper, 39

F.3d at 1530-31. In short, if a plaintiff cannot show that the plan used to

demonstrate the first prong can also be a proper remedy, then the plaintiff has

not shown compliance with the first prong of Gingles. Id. at 1530-31.




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      Additionally, Plaintiffs have presented no evidence of the geographic

compactness of the Black community in the new configuration of District 6

aside from the fact that it was drawn—and the only majority-Black portion of

the new District 6 is in a single county that is already located in a majority-

Black district on the enacted plan. This absence of evidence supports a grant

of summary judgment to Defendants. Marion, 821 F. Supp. At 687. The

Supreme Court also requires that the size and geographic compactness

portions of the first Gingles prong relate to the community, not to any potential

district created by a plaintiff: “The first Gingles condition refers to the

compactness of the minority population, not to the compactness of the contested

district.” League of United Latin Am. Citizens v. Perry, 548 U.S. 399, 433 (2006)

(LULAC) (emphasis added) (quoting Bush v. Vera, 517 U.S. 952, 997 (1996)).

      Mr. Cooper’s districts combine distinct minority communities, often with

intervening white population, and reduce districts so that several are barely

majority-Black. Mr. Cooper could identify practically nothing beyond the race

of the voters in a number of his districts that united them—in clear violation

of the requirements of LULAC: “there is no basis to believe a district that

combines two far-flung segments of a racial group with disparate interests

provides the opportunity that § 2 requires or that the first Gingles condition




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contemplates.” Id.; SMF ¶ 56; Cooper Dep. 68:6-69:2, 70:16-22, 73:13-17, 86:5-

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     III.   Plaintiffs cannot establish the second and third Gingles
            preconditions.

        Even if Plaintiffs have shown a proper remedy, they still cannot prevail

because they have not shown legally significant racially polarized voting. The

basis for a Section 2 vote-dilution claim must be more than a simple failure to

win elections—because, in a majoritarian system, “numerical minorities lose

elections.” Holder v. Hall, 512 U.S. 874, 901 (1994) (Thomas, J., concurring)

(citations omitted). In order to succeed, Plaintiffs must show that minority

voters, although able to vote, are unable to elect their preferred candidates

because their votes have been “submerge[ed]” in a majority that votes as a

“racial bloc” against them. Gingles, 478 U.S. at 46, 49-52. And this racial bloc

voting, by its very terms, must be attributable to race, rather than, for example,

race-neutral partisan politics. Otherwise, it is just majority bloc voting or, as

Justice White put it, “interest-group” politics. Id. at 83 (White, J., concurring).

And “Congress and the Supreme Court” have refused “to equate losses at the

polls with actionable vote dilution where these unfavorable results owe more

to party than race.” League of United Latin Am. Citizens, Council No. 4434 v.

Clements, 999 F.2d 831, 860 (5th Cir. 1993).



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      A. To establish vote dilution “on account of race,” a plaintiff
         must prove racial bloc voting, not majority bloc voting
         attributable to ordinary partisan politics.

      In its ruling denying Plaintiffs’ respective motions for preliminary

injunction in this action, this Court “conclude[d] as a matter of law that, to

satisfy the second Gingles precondition, Plaintiffs need not prove the causes of

racial polarization, just its existence.” Alpha Phi Alpha Fraternity v.

Raffensperger, 587 F. Supp. 3d 1222, 1303 (N.D. Ga. 2022). Relying on the

plurality opinion in Gingles, this Court stated “[f]or purposes of § 2, the legal

concept of racially polarized voting incorporates neither causation nor intent.

It means simply that the race of voters correlates with the selection of a certain

candidate or candidates; that is, it refers to the situation where different races

(or minority language groups) vote in blocs for different candidates.” Id.

(emphasis original) (quoting Gingles, 478 U.S. at 62). But a closer review of the

opinions shows that a majority of the justices in Gingles declined to endorse

this approach to majority-bloc voting.

      Justice White, in a concurring opinion, called it little more than

“interest-group politics.” Gingles, 478 U.S. at 83. Justice O’Connor, writing for

the remaining justices, declared flatly that “I agree with Justice White that

Justice Brennan’s conclusion that the race of the candidate is always irrelevant

in identifying racially polarized voting conflicts with Whitcomb and is not


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necessary to the disposition of this case.” Id. at 101 (O’Connor, J., concurring).

And it is important to note that Justice O’Connor arrived at this conclusion

after endeavoring to construe what she called the “compromise legislation” of

the amended Section 2. That is, the calculated equivocation in Part B of Section

2 that expressly disclaims a right to proportional representation cannot be

given any substantive effect if all that matters when establishing racially

polarized voting is whether minority voters and majority voters are voting

differently. But the plurality view does just that:

      [T]he combination of the Court’s definition of minority voting
      strength and its test for vote dilution results in the creation of a
      right to a form of proportional representation in favor of all
      geographically and politically cohesive minority groups that are
      large enough to constitute majorities if concentrated within one or
      more single-member districts. In so doing, the Court has
      disregarded the balance struck by Congress in amending § 2 and
      has failed to apply the results test as described by this Court in
      Whitcomb and White.

Id. at 85 (emphasis added) (O’Connor, J., concurring in the judgment). Thus,

while this Court was correct in identifying what a plurality of Justices in

Gingles described as “racially polarized voting,” it is just as true that an equally

sized plurality of the Gingles Court rejected that view. When combined with

Justice White’s admonition against construing Section 2 as enshrining

interest-group politics into law, the former plurality does not carry the day.




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      But even if this Court still disagrees with Defendants on this point, there

is a remaining issue: The contrary view—that racial bloc voting is present

anywhere a minority happens to vote for a different candidate than the

majority—would raise serious questions about the constitutionality of Section

2, which cannot be validly understood to require changes in districts solely

because of partisan voting behavior.

            1. Statutory text, history, and precedent establish that if the
               majority blocks the minority group’s preferred
               candidates because of ordinary partisan politics, there is
               no “racial bloc voting.”

      Section 2 is designed to root out racially discriminatory laws. The text

requires Plaintiffs to prove that there is a “standard, practice, or procedure”

that “results in a denial or abridgement of the right of any citizen of the United

States to vote on account of race or color.” 52 U.S.C. § 10301(a) (emphasis

added). It is Plaintiffs’ burden to show that “the political processes leading to

nomination or election in the State or political subdivision are not equally open

to participation by members of a class of citizens… in that its members have

less opportunity than other members of the electorate to participate in the

political process and to elect representatives of their choice.” Id. at § 10301(b)

(emphasis added). Section 2 thus requires Plaintiffs to show that the

“challenged law… caused” them, “on account of race” to have less opportunity



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to elect their preferred candidates than members of other races. Greater

Birmingham Ministries v. Sec’y of Ala., 992 F.3d 1299, 1329 (11th Cir. 2021)

(emphasis in original).

      The text explicitly does not “guarantee” partisan victories or “electoral

success.” LULAC, 548 U.S. at 428 (citation omitted). If minority voters’

preferred candidates lose for non-racial reasons, such as failing to elect

candidates because they prefer Democrats in Republican-dominated areas,

they nonetheless have precisely the same opportunity as “other members of the

electorate,” and they have correspondingly not suffered any “abridgement” of

their right to vote “on account of race.” 52 U.S.C. § 10301. Section 2 does not,

in other words, relieve racial minorities of the same “obligation to pull, haul,

and trade to find common political ground” that affects all voters. De Grandy,

512 U.S. at 1020.

      This view is not some recent legal phenomenon, but rather was borne out

in Gingles itself. As Justice O’Connor explained, the view advocated by

Plaintiffs here (and the view espoused by the plurality in Gingles) would

effectively overturn Whitcomb v. Chavis, one of the two Supreme Court

precedents that the “[a]mended § 2 intended to codify.” Gingles, 478 U.S. at 83

(citations omitted). In Whitcomb, the Court explained that although residents

in one area of Marion County consistently lost elections, that was because they

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“vote[d] predominantly Democratic,” and Republicans generally won elections

in the county. 403 U.S. at 153. “[H]ad the Democrats won all of the elections or

even most of them, the ghetto would have no justifiable complaints about

representation.” Id. at 152. And the failure of Democrats was insufficient to

show illegality. Thus, in Gingles, Justice O’Connor stressed that Whitcomb

required courts to differentiate between situations where race explains voting

patterns from those where the partisan “interests of racial groups” simply

“diverge.” 478 U.S. at 100.

      Section 2 cannot be rationally interpreted as prohibiting certain election

practices when Republicans are in the majority but requiring other election

practices where Democrats dominate. “The Voting Rights Act does not

guarantee that nominees of the Democratic Party will be elected, even if black

voters are likely to favor that party’s candidates.” Baird v. Indianapolis, 976

F.2d 357, 361 (7th Cir. 1992). Instead, as the Senate Report makes clear, the

amended Section 2 applies only where “racial politics … dominate the electoral

process.” S. Rep. at 33 (emphasis added).

      The alternative view would mandate not only a partisan preference but

a racial preference. Here, for instance, Black Democrats—like white

Democrats, Asian Democrats, and Latino Democrats—ordinarily fail to elect

their preferred candidates because the majority of Georgia voters generally

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choose Republicans.8 Although Plaintiffs claim that Black voters alone among

that group are entitled to districts in which they are guaranteed electoral

success, “Section 2 requires an electoral process ‘equally open’ to all, not a

process that favors one group over another.” Gonzalez v. City of Aurora, 535

F.3d 594, 598 (7th Cir. 2008). Section 2 does not require courts to mandate that

Black Democrats vote more successfully than white Democrats. Clements, 999

F.2d at 861 (“[W]hite Democrats have in recent years experienced the same

electoral defeats as minority voters. If we are to hold that these losses at the

polls, without more, give rise to a racial vote dilution claim warranting special

relief for minority voters, a principle by which we might justify withholding

similar relief from white Democrats is not readily apparent.”).

      Moreover, to hold that there is no racial component beyond simply

observing that majority and minority voters vote differently would also

eviscerate another aspect of Section 2: its emphatic rejection of a right to

proportional representation. 52 U.S.C. § 10301(b) (“[N]othing in this section

establishes a right to have members of a protected class elected in numbers

equal to their proportion in the population.”). Avoiding a requirement of




8 With several notable exceptions in statewide races in 2020, 2021, and 2022.



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proportionality was a central focus of Congress in amending Section 2. See

Gingles, 478 U.S. at 84 (O’Connor, J., concurring).

      Given all this, it should be no surprise that other circuits have rejected

a view of Section 2 that showing polarization is enough. The Fifth Circuit, for

instance, has held that Section 2 plaintiffs cannot succeed when they “have not

even attempted to establish proof of racial bloc voting by demonstrating that

race, not … partisan affiliation, is the predominant determinant of political

preference.” Clements, 999 F.2d at 855. Likewise, the First Circuit holds that

“plaintiffs cannot prevail on a VRA Section 2 claim if there is significantly

probative evidence that whites voted as a bloc for reasons wholly unrelated to

[race].” Vecinos De Barrio Uno v. City of Holyoke, 72 F.3d 973, 981 (1st Cir.

1995). And Judge Tjoflat has opined that, even if a plaintiff has provided

evidence of racial bloc voting, a “defendant may rebut the plaintiff’s evidence

by demonstrating the absence of racial bias in the voting community; for

example, by showing that the community’s voting patterns can best be

explained by other, non-racial circumstances.” Nipper, 39 F.3d at 1524

(plurality opinion).

      To be sure, the courts disagree on whether the third Gingles factor or the

totality phase is the appropriate time to ensure racial, as opposed to merely

partisan, polarization exists. The Fifth Circuit, for instance, holds that there

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is no third Gingles factor without proof of racial, as opposed to partisan,

polarization. Clements, 999 F.2d at 892. The Second Circuit—as this Court

held at its Order denying the preliminary injunction—holds that the inquiry

should be conducted at the totality-of-the-circumstances phase of analysis.

Goosby v. Town Bd., 180 F.3d 476, 493 (2d Cir. 1999); see also Lewis v.

Alamance County, N.C., 99 F.3d 600, 615 n.12 (4th Cir. 1996) (noting

differences among circuit courts).

      But this minor disagreement does not matter much. The key point is that

Plaintiffs, who bear the ultimate burden of proof, must establish that race is

the reason they supposedly lack equal “opportunity.” 52 U.S.C. § 10301(b). And

if voting patterns establish, instead, that Republicans always win (regardless

of race), then non-Republican voters of all races have exactly the same

opportunity to elect their candidates of choice, in every case. This is why this

Court should require proof of racial bloc voting as part of the third Gingles

factor (if race is not the “domina[nt]” reason for bloc voting, there can be no

“racial bloc voting.” S. Rep. at 33 (emphasis added)), even if the analysis is

ultimately the same. As discussed below, Plaintiffs’ lack of evidence on this

point is fatal to their claims here.




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            2. If § 2 allowed partisan bloc voting to form the basis of a
               claim, it would be unconstitutional.

      Beyond being irreconcilable with the text or binding precedent, a view

that racial bloc voting requires only that majority and minority voters vote

differently would also make Section 2 unconstitutional. Congress enacted

Section 2 under its power to enforce the Fifteenth Amendment, which prohibits

only “purposeful discrimination,” not laws that merely “resul[t] in a racially

disproportionate impact.” City of Mobile v. Bolden, 446 U.S. 55, 70 (1980)

(citation omitted); see also U.S. CONST. amend. XV. Section 2’s results test goes

beyond the constitutional provision that it purports to enforce, which makes

sense to the extent that Section 2 can be understood as a tool for addressing

invidious racial discrimination. But Congress certainly cannot place a

particular political party in a favored electoral position. Congress may use its

enforcement power only as a “congruen[t] and proportional[] ... means” to

“remedy    or   prevent”   the    unconstitutional   “injury”   of   intentional

discrimination. City of Boerne v. Flores, 521 U.S. 507, 519–20 (1997). The

Fifteenth Amendment’s enforcement power does not allow Congress to “alter[]

the meaning” of the Constitution. Id. at 519. Accordingly, to ensure that

Section 2 stays within the bounds of the Fifteenth Amendment, the results test




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must be “limited to those cases in which constitutional violations [are] most

likely.” Id. at 533 (citation omitted).

      If Section 2 were interpreted in a way that plaintiffs can establish racial

bloc voting merely by showing that minorities and majorities vote differently,

it would not fit within those constitutional bounds. As Justice White explained

in his dissent in Bolden, the original results test was designed to target

“objective factors” from which discrimination “can be inferred.” 446 U.S. at 95

(emphasis added). The amendments to Section 2 were meant to “restore” that

test. Gingles, 478 U.S. at 43-44 & n.8 (citations omitted). And Plaintiffs’

interpretation does not alter this “objective factors” test.

      What is more, interpreting Section 2 to grant preferential treatment to

particular racial groups would violate the Equal Protection Clause by

compelling state action to benefit one racial group at the expense of others. See

U.S. CONST. amend. XIV, § 1. “[S]ubordinat[ing] traditional race-neutral

districting principles” to increase minority voting strength violates the

Constitution. Miller, 515 U.S. at 916. Where Section 2 is used not to undo racial

bias but to undo a pattern of partisan voting, in favor of one (and only one)

racial minority, that must be unconstitutional.9


9 At a minimum, such an interpretation of Section 2 raises constitutional
questions and should be avoided if possible. “When a serious doubt is raised

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      B. There is no racial bloc voting here because partisan politics,
         not race, explains the voting patterns highlighted by
         Plaintiffs, and Plaintiffs’ experts offer no evidence disputing
         this.

      With the proper rule in place, Plaintiffs’ claim fails under Section 2

because they “have not even attempted to establish proof of racial bloc voting

by demonstrating that race, not ... partisan affiliation, is the predominant

determinant of political preference.” Clements, 999 F.2d at 855.

      As established above, a successful Section 2 claim requires that race, not

party, is the cause of “divergent voting patterns.” Id. at 861. Plaintiffs must,

therefore, prove as much. But Plaintiffs here did not even try to do so, instead

just throwing up their hands or arguing that race and party are too inseparable

ever to be considered separately.

      But one cannot determine whether the voting patterns of Georgia voters

are due to racial politics when they only examine general elections because, as

Plaintiffs’ experts own reports clearly indicate, Black voters in Georgia




about the constitutionality of an act of Congress, it is a cardinal principle that
this Court will first ascertain whether a construction of the statute is fairly
possible by which the question may be avoided.” Jennings v. Rodriguez, 138 S.
Ct. 830, 842 (2018) (citation omitted). That is doubly true where the
interpretation would “upset the usual constitutional balance of federal and
state powers.” Gregory v. Ashcroft, 501 U.S. 452, 460 (1991). Courts should
interpret statutes to do so only when congressional intent is “unmistakably
clear.” Id. (citations omitted).

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overwhelmingly vote for Democrats and against Republicans. Dr. Palmer’s

decision not to review any primary results in his report undermines the

usefulness of the data and analysis he presents as purported evidence of racial

polarization in Georgia’s elections. SMF ¶ 57; Palmer Dep. 59:23-60:01; Alford

Dep. 29:07-30:01. But even without the benefit of viewing the stark drop-off in

polarization once party is controlled for by examining primary elections, Dr.

Palmer’s data still only demonstrates two things: The race of the candidate

does not change voting behavior of Georgia voters; and the party of the

candidate does. SMF ¶ 58; Alford Dep. 54:18-22.

      Plaintiffs’ purported evidence of racial polarization is, in reality, nothing

more than evidence of partisan polarization where a majority of voters support

one party and a minority of voters support another party. This is, as Justice

White described in Gingles, “interest group” politics. Plaintiffs’ own political

goals in bringing this case further illustrate that the issues in this case are not

a matter of race, but rather that the “most political activity in America”10 had

political consequences they do not like.

      Moreover, Plaintiffs’ own experts do not offer evidence from primaries,

where the issue of polarization could be viewed apart from party. That is


10 See, e.g., Charles S. Bullock III, Redistricting: The Most Political Activity in

America (2nd Ed. 2021).

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simply not enough for Plaintiffs to carry their burden of proving racial

polarization sufficient to satisfy prongs two and three of Gingles. To the

contrary, all the Court has before it is evidence establishing that party, rather

than race, explains the “diverge[nt]” voting patterns at issue. Gingles, 478 U.S.

at 100 (O’Connor, J., concurring). Plaintiffs’ failure to offer any other evidence

ends this case because they failed to show that prongs two and three of Gingles

are met.

   IV.     Plaintiffs cannot succeed because proportionality bars their
           claims.

      When applying § 2 of the Voting Rights Act to single-member legislative

district challenges, if “minority voters form effective voting majorities in a

number of districts roughly proportional to the minority voters’ respective

shares in the voting age population,” no violation of Section 2 can be found. De

Grandy, 512 U.S. at 1000. This is because when the minority group in question

enjoys “rough proportionality,” there is no evidence that “voters in either

minority group have ‘less opportunity than other members of the electorate to

participate in the political process and to elect representatives of their choice.’”

Id. at 1024 (quoting 52 U.S.C. § 10301(b)). The Voting Rights Act “was passed

to guarantee minority voters a fair game, not a killing.” Bartlett, 556 U.S. at




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29 (Souter, J., dissenting). This is why the Supreme Court has generally looked

to the “rough proportion of the relevant population.” Id.

        Proportionality in this context is analyzed by comparing “the number of

districts where minority voters can elect their chosen candidate with the

group’s population percentage.” Id.11 Because Section 2 focuses on “equal

political opportunity,” when considering districts that elected members

proportional to their population, the Supreme Court did “not see how . . .

district lines, apparently providing political effectiveness in proportion to

voting age numbers, deny equal political opportunity.” De Grandy, 512 U.S. at

1014.

        The Supreme Court gave further direction in LULAC, finding that the

relevant geographic area for a proportionality analysis is the entire state.

LULAC, 548 U.S. at 437. In LULAC, the Supreme Court explained that the

proportionality inquiry entails “comparing the percentage of total districts that

are [African-American] opportunity districts with the [African-American]


11 The proportionality analysis that is part of the totality-of-the-circumstances

review in Section 2 cases is distinct from the language in Section 2 regarding
proportional representation. Solomon, 221 F.3d at 1223, n.5 (“it is important
to keep the concepts of ‘proportionality’ and ‘proportional representation’
distinct”). While no minority group has a right to proportional representation
under Section 2, the degree of achievement of proportional representation may
be relevant to evaluating whether minority voters have formed effective voting
majorities in districts roughly proportional to their population. Id.

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share of the citizen voting-age population.” Id. at 436. This is because this

Court must determine “whether the absence of that additional district

constitutes impermissible vote dilution.” Id. at 437.

      While proportionality is not a safe harbor for a jurisdiction, LULAC, 548

U.S. at 436, it is an extremely relevant factor to consider whether an equal

opportunity to participate in the political process exists. See, e.g., African Am.

Voting Rights Legal Def. Fund v. Villa, 54 F.3d 1345, 1355 (8th Cir. 1995)

(evidence of “persistent proportional representation” sufficient to support

grant of summary judgment to jurisdiction); Fairley v. Hattiesburg Miss., 662

F. App’x 291, 301 (5th Cir. 2016) (same).

      In the 2022 election cycle, the 2021 congressional plan elected five Black

Democratic candidates to the 14 congressional districts. SMF ¶ 59; Cooper Dep.

19:19-21. That constitutes 35.7% of the Georgia congressional delegation. The

Any-Part Black VAP for Georgia as a whole is 31.73%, and the 2021 AP Black

CVAP is 33.3%. SMF ¶ 60; Cooper Report, ¶ 18, Figure 2. Thus, the percentage

of Black candidates and Black-preferred candidates being elected is more than

roughly proportional to the percentage of Black individuals in Georgia.

      Given the rough proportionality in Congress, along with the fact that

both of Georgia’s U.S. senators are Black-preferred candidates because they

are Democrats (Sen. Ossoff was elected in 2021 and Sen. Warnock was re-

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elected in 2022), Plaintiffs’ claim that Black voting strength in Georgia’s

congressional races was diluted by the 2021 congressional redistricting plan is

without merit. SMF ¶ 61; Palmer Dep. 53:2-54:2. Black voters in Georgia have

demonstrated that they have an equal opportunity to participate in the

political process and to elect representatives of their choice. Consequently,

Plaintiffs’ claim for a Section 2 violation fail as a matter of law.

                                 CONCLUSION

      After discovery, there remains no issue of any material fact in this case.

This Court must dismiss the members of the SEB as defendants. Plaintiffs

have not shown their proposed remedial map can function as a remedy, but

even if they have, the lack of evidence of legally significant racially polarized

voting is fatal to their claims because they have not shown the Gingles

preconditions are met. Even if this Court agrees with Plaintiffs on those points,

the rough proportionality already achieved by Black voters in Georgia is

sufficient to bar their claims. This Court should grant summary judgment to

Defendants and dismiss this case.


      Respectfully submitted this 20th day of March, 2023.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing Brief has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

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